                         Electronlcally Filed by Superior Court of California, County of Orange, 09/05/2019 09:01 :53 PM.
              DAVID H. YAMASAKI, Clerk of the Court By Brenda Sanchez, Deputy Clerk. 30-2019-01095975-CU-WT-NJC ROA# 2
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 1 of 14 Page ID #:11


      TRACY NEAL-LOPEZ (SBN 225367)
      NEAL-LOPEZ LAW GROUP, PC
2     111 W. Ocean Blvd., Suite 400
      Long Beach, CA 90802
3     Tel:  (562) 216-8140
      Fax: (562) 473-4544
4
      Attorneys for Plaintiff, CAMILLE RODRIGUEZ
5

6

7
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8

 9                                         FOR THE COUNTY OF ORANGE Judge Craig Griffin
        CAMILLE RODRIGUEZ, an Individual;                                 )   CASE NO. 30-2019-01095975-CU-WT-NJC
10
                                                                          )
II                       Plaintiff,                                       )
                                                                          )   PLAINTIFF'S COMPLAINT FOR
12             V.                                                         )   DAMAGES FOR:
                                                                          )
13
        ZL - WEST ENGINEERING PLACSTICS,                                  )   1. DISCRIMINATION ON THE
14      INC., a California corporation; and DOES 1                        )        BASIS OF GENDER IN
        through 25, Inclusive,                                            )        VIOLATION OF FEHA;
15                                                                        ) 2.     FAILURE TO PREVENT
                                                                          )        DISCRIMINATION AND
16
                         Defendants.                                      )        RETALIATION;
17                                                                        )   3.   RETALIATION FOR
                                                                          )        COMPLAINTS OF
18                                                                        )        DISCRIMINATION IN
                                                                          )        VIOLATION OF FEHA;
19                                                                        )   4.   VIOLATION OF LABOR CODE§
20                                                                        )        1102.5; AND
                                                                          )   5.   WRONGFUL TERMINATION OF
21                                                                        )        EMPLOYMENT IN VIOLATION
                                                                          )        OF PUBLIC POLICY
22                                                                        )
23
                                                                          )   DEMAND FOR JURY TRIAL
                                                                          )
24                                                                        )
                                                                          )
25                                                                        )
                                                                          )
26
                                                                          )
27                                                                        )
      -------------~)
28


                                                                      1
                                                            COMPLAINT                                                       EXHIBIT A
                                                                                                                              PAGE 6
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 2 of 14 Page ID #:12




2            Plaintiff, Camille Rodriguez, alleges, on the basis of personal knowledge and/o

3     information and belief:
4                                                SUMMARY
5            This is an action by Plaintiff, Camille Rodriguez ("Plaintiff' and/or "Rodriguez"), whose

6     employment with ZL- West Engineering Plastics, Inc. was wrongfully terminated. Plaintiff
7     brings this action against defendants for economic, non-economic, compensatory, and punitive

8     damages, pursuant to Civil Code section 3294, pre-judgement interest pursuant to Code of Civil

9     Procedure section 3291, and costs and reasonable attorneys' fees pursuant to Government Code

JO    section 12965(b) and Code of Civil Procedure section 1021.5.
11                                                 PARTIES

12            1.    Plaintiff, Camille Rodriguez, is, and at all times mentioned in this Complaint was,

13     resident of the County of Orange, California.

14            2.    Defendant ZL - West Engineering Plastics, Inc. (hereinafter "ZLW"), is, and at al

15     times mentioned in this Complaint was, authorized to operate by the State of California and th

16     United States government and authorized and qualified to do business in the County of Orange.

17     Defendant's place of business, where the following causes of action took place, was and is in th

18     County of Orange, 8485 Artesia Blvd., Unit D, Buena Park, California 90621.

19            3.     Defendants Does 1 through 25 are sued under fictitious names pursuant to Code o

20     Civil Procedure section 474. Plaintiff is informed and believes, and on that basis alleges, that eac

21     of the defendants sued under fictitious names is in some manner responsible for the wrongs an

22     damages alleged below, in so acting was functioning as the agent, servant, partner, and employe

23     of the co-defendants, and in taking the actions mentioned below was acting within the course an

24     scope of his or her authority as such agent, servant, partner, and employee, with the permissio
25     and consent of the co-defendants. The named defendants and Doc defendants are sometime

26     thereafter referred to, collectively and/or individually, as "defendants."
27            4.     All defendants compelled, coerced, aided, and/or abetted the discrimination,

28     retaliation, and harassment alleged in this Complaint, which conduct is prohibited under Californi


                                                      2
                                                  COMPLAINT                                    EXHIBIT A
                                                                                                 PAGE 7
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 3 of 14 Page ID #:13


      Government Code section J 2940(i). All defendants were responsible for the events and damage

2     alleged herein, including on the following basis: (a) defendants committed the acts alleged; (b) a

3     all relevant times, one or more of the defendants was the agent or employee, and/or acted unde

4     the control or supervision of, one or more of the remaining defendants and, in committing the act

5     alleged, acted within the course and scope of such agency and employment and/or is or ar

6     otherwise liable for plaintiffs damages; (c) at all relevant times, there existed a unity of ownershi

7     and interest between two or more of the defendants such that any individuality and separatenes

8     of defendants does not, and at all times herein mentioned did not exist. Adherence to the fiction

9     of tbe separate existence of defendants would permit abuse of the corporate privilege and woul

IO    sanction fraud and promote injustice. All actions of all defendants were taken by employees,

11    supervisors, executives, officers, and directors during employment with all defendants, were take

12    on behalf of all defendants, and were engaged in, authorized, ratified, and approved by all othe

13    defendants.

14            5.    Defendant ZLW directly and indirectly employed Plaintiff, as defendant under th
15     Fair Employment and Housing Act ("FEHA'') at Government Code section 12926(d).

16            6.    In addition, defendant ZLW compelled, coerced, aided, and abetted th

17    discrimination, which is prohibited under California Government Code section 12940(i).

18            7.    At all relevant times mentioned herein, all defendants acted as agents of all othe
19    defendants in committing the acts alleged herein.

20                          FACTS COMMON TO ALL CAUSES OF ACTION

21            8.    Plaintiff, Camille Rodriguez was employed by defendants from November 21,201

22     to September 6, 2017, when she was terminated. She was hired as an Inside Sales Representative.

23     Rodriquez' duties included, among other things, making sure all orders that were shipped an

24     picked up were invoiced, give quotes to customers, prepare/process Certifications o
25     Conformance, enter orders, follow up on calls for add-on's to back orders. During Rodriguez'

26     employment with ZLW, she was the only female Inside Sales Representative. At all times,
27    Rodriguez performed her job duties in an exemplary manner.
28


                                                     3
                                                 COMPLAINT                                     EXHIBIT A
                                                                                                 PAGE 8
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 4 of 14 Page ID #:14


             9.      During the week of on or about January 30, 2017 Patrick Pheffer ("Pheffer"), ZL

2     President, who is based out of the ZL Kansas office, was at ZL W.       Monique, from the Kansa

3     office, called Rodriquez and told her to call a customer to ask him ifit was okay for ZLW to declar

4     the value of the material being sent to him via UPS or if he had an amount that he wanted ZL W t

5     declare. Rodriquez asked the customer verbatim what Monique had instructed her. Apparently,

 6    Pheffer overheard Rodriguez' telephone conversation with the customer; after Rodriguez hung u

 7    the phone, Pheffer approached her and yelled at her that he did not like the explanation that sh

 8    gave the customer regarding the UPS declare value.       In front of Rodriquez' co-workers, all o

 9    whom are male, Pheffer stood directly in front of Rodriguez, about 2-feet away from her, an

1O    yelled at her that she sounded unprofessional on the telephone, that she should have used differen

11    words when speaking with the customer (without giving any examples), and that she needed mor

12    training. To ensure that Rodriguez could hear him, Pheffer yelled "I am fucking talking and yo

13    better fucking listen or you are going to find yourself out the door." Rodriguez was visibly shake

14    and upset by Pheffer's conduct and rage he directed toward her. As such, she asked if she coul
15    take her lunch break; she was reduced to tears, felt singled out, humiliated, embarrassed an

16    belittled by Pheffer. When Rodriguez returned from lunch, Pheffer sat at a desk near Rodriguez

17    turned his chair to face her direction and watched her while she worked. Rodriguez felt intimidate

18    and stressed by Pheffer's demeanor.

19            I 0.   Later that week, Pheffer left and went back to ZL in Kansas. Rodriguez immediate]

20    reported to her Manager, Damien Myers ("Myers"), that she felt singled out, humiliated, degrade
21    and belittled by Pheffer.

22            11.    On or about February 1, 2017, Tina Resch ("Resch") from Human Resources ("HR"

23    emailed Rodriguez in response to Myers' complaint to HR on behalf of Rodriguez, that Pheffer i
24    hostile toward Rodriguez and that she is very upset.
25            12.    On or about February 2, 2017, Pheffer and Eric Giesen ("Giesen"), Operation
26    Manager of ZLW and ZL in Kansas, telephoned Rodriguez to discuss her grievances regardin
27    Pheffer's conduct. They made excuses for Pheffer's bad behavior; Giesen told Rodriguez that sh
28


                                                       4
                                                COMPLAINT                                     EXHIBIT A
                                                                                                PAGE 9
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 5 of 14 Page ID #:15


 I    was doing a good job. Later, Giesen telephoned Rodriguez and told her that "Patrick is Patrick'

 2    and to essentially blow off his bad behavior.

 3           13.     During the week of on or about March 6, 2017, Pheffer came to ZLW to supposed]

 4    meet with customers that week. However, he was in the office most of the time. Again, Pheffe

 5    tried to find fault with only Rodriguez' work. He went through back orders and inquired why sh

 6    does not do back orders like they do it at the Kansas office.    Myers intervened and told Pheffe

 7    that he is the one who handles the back orders; Pheffer dropped the issue. Rodriguez got th

 8    impression that if it had been her who handled the back orders, Pheffer would have berated her.
 9           14.     Pheffer then sat at a desk near Rodriguez' and again turned his chair to face her an

IO    watch her every move. Rodriguez was on a call with a customer; she put the customer on hold t

11    ask Myers a question. Pheffer quickly said to Rodriguez "let me show you how it's done." H

12    picked up one of the telephone lines without verifying that he was talking to the right customer

13    and in an arrogant tone, with a smirk on his face, he proceeded to tell the customer wron

14    information. It was not until he hung up the phone did he realize that he was talking to the wron
15    customer. Rodriguez believes that Pheffer attempted to paint her in a bad light with the custome

16    and make her appear as though she did not know what was doing - the dumb female sale

17    representative. The customer Pheffer spoke to later told Rodriguez that he had no idea wha
18    Pheffer was talking about and found it odd.
19           15.     The following day on or about March 7, 2017, Rodriguez was less than five minute

20    late for work. When she arrived she found Pheffcr sitting at her desk. Pheffer then got up fro

21    Rodriguez' desk to greet a former employee, Luis, who returned to work for ZLW. Pheffe

22    welcomed Luis back and said that he missed him. Pheffer introduced Luis to Rodriguez; he tol

23    Luis "this is Camille, she is scary" and laughed.    Rodriguez was offended by his comment an

24    embarrassed.    Thereafter, when Luis was not at his desk, Pheffer sat at his desk and turned hi
25    chair to face Rodriguez and watch her.
26           16.     Pheffer returned to ZLW during the week of March 19, 2017, and again singled ou
27    Rodriguez by trying to find fault in her work performance. Myers contacted Giesen and expresse
28    that when Pheffer is at ZL W he creates a hostile work environment, which causing Rodriguez


                                                       5
                                                COMPLAINT                                     EXHIBIT A
                                                                                               PAGE 10
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 6 of 14 Page ID #:16


1     great deal of stress. Rodriguez was informed that Pheffer was asked not to go back to ZLW for

2     while.

3              J 7.   On or about July 19, 2017, Pheffer called Rod1iguez to inquire about the invento

4     of certain material. Curiously, Pheffer could access the inventory via computer; there was no nee

5     to call Rodriguez. As Pheffer was describing the material, he became irate over the telephone an

6     started yelling at her. Telling her "why aren't you writing this down, don't you write anythin

7     down."      Rodriguez confirmed that she did write it down and what he wanted was not in stock.

8     Rodriguez reported the incident to Myers; he checked her notebook and saw for himself that sh

9     correctly wrote down the information in her notebook.

10             18.      A few hours later, Giesen called Myers and told him that Rodriguez was not writin

11    in her notebook. Myers defended Rodriguez and said that he is looking at her notebook and tha

12    she takes a lot of notes, and that she wrote down what Pheffer had inquired about. Thereafter

13    Rodriguez was ridiculed and treated differently by the Kansas ZL office.

14             19.      On or about August 11, 2017, Giesen telephoned Rodriguez to discuss an error tha

15    she supposedly made. Subsequently, ZLW employees were informed that Giesen and Pheffer wil

16    be at the ZLW office on August 14, 2017 to discuss some issues, which could result in write-ups.

I7     Rodriguez felt singled out and believed that the real reason that they were coming out to ZLW wa

18    to only write her up. Rodriguez expressed her concerns to Geisen.

19             20.      On or about August 29, 2017, Rodriguez was the only one in the office and wa

20    tasked with handling all of the customer calls and orders. The ZL Kansas office was supposed t

21    assist her with the calls, but they only assisted her with a couple of calls, which they reached ou

22     to her via email with questions; they were of no assistance. Rodriguez expressed that she had bee

23     at work for over six hours with no breaks and was feeling dizzy. She also expressed that she i

24     stressed and in fear of doing anything wrong because a few weeks prior Pheffer said that she is o
25     a short leash.

26             21.      On or about August 30, 2019, Myers reported to HR that he believed Pheffer violate
27     Rodriguez' right to privacy by logging onto her computer when she was not in the office and goin

28    through her emails and notebook. None of which he did to Rodriguez' male coworkers. HR sai


                                                       6
                                                   COMPLAINT                                   EXHIBIT A
                                                                                                PAGE 11
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 7 of 14 Page ID #:17


     that it was okay for Pheffer to access her computer. Rodriguez responded in kind to HR's emai

2     stating that she (Resch) is obviously taking the issue lightly, that she has concerns regarding he

3    job secmity and that she feels she is being retaliated against because she previously complaine

4     about being singled out by Pheffer, among other things.

5            22.    On or about September 1, 2017, Rodriguez did not repmt to work due to the sever

6     stress she was subjected to because of her workplace environment.

7            23.    On or about September 1, 2017, Myers informed ZLW that he was resigning fro

8     ZLW effective September 14, 201 7. He informed ZLW that reason for his resignation is becaus

9     of the "continuous misconduct as well as hostile work environment created by the ZL President."

10            24.   Interestingly, on or about September 5, 2017, Rodriguez was informed that he

1I    position was going to be eliminated and that all inside sales representative duties were going to b

12    transferred to ZL in Kansas, and that if she wanted to transfer to Kansas, ZLW would have to mak

13    her a formal offer; that is if she was interested.       The following day Rodriguez inquired if ZL

14    was going to make her a formal offer to transfer to Kansas. Rodriguez was informed that ZL
15    was still working on it and would get back to her soon. Rodriguez expressed her frustrations t

16    Giesen and requested to have a telephone conference with Resch in HR.             After the telephon

17    conference, Rodriguez was asked to go home for the day.            At 3:34 p.m. on September 6, 2017,

I8    Rodriguez received an email from Resch informing her that she is laid off, which Rodrigue

19    believes is under the guise that her position was moved to Kansas.       However, none of Rodriguez'

20    male coworkers were laid off.

21            25.   As a consequence of defendants' conduct, Plaintiff has suffered and will suffer harm

22    including lost past and future income and employment benefits, damage to her career, and los

23    wages, and penalties in a sum to be proven at trial.

24            26.   As a consequence of defendants' conduct, Plaintiff has suffered and will suffe
25    psychological and emotional distress, humiliation, and mental and physical pain and anguish in
26    sum to be proven at trial.
27
28

                                                           7
                                                 COMPLAINT                                      EXHIBIT A
                                                                                                 PAGE 12
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 8 of 14 Page ID #:18



1             27.    Defendants' conduct constitutes oppression, fraud, and/or malice under Californi

2     Civil Code section 3294 and, thus, entitles Plaintiff to an award of exemplary and/or punitiv

3     damages.

4                    a.       Malice.    Defendants' conduct was committed with malice within th

5     meaning of California Civil Code section 3294, including that (a) defendants acted with intent t

6     cause injury to Plaintiff and/or acted with reckless disregard for Plaintiffs injury, including b

7     terminating Plaintiff's employment and/or taking other adverse job actions against Plaintif

 8    because of her disability and gender, and/or good faith complaints and/or (b) defendants' conduc

 9     was despicable and committed in willful and conscious disregard of Plaintiffs rights, health, an

1O     safety, including Plaintiff's right to be free of discrimination, harassment, retaliation, and wrongfu

11     employment termination.

12                   b.       Oppression.    In addition, and/or alternatively, defendant's conduct wa

13     committed with oppression within the meaning of California Civil Code section 3294, includin

14     that defendants' actions against Plaintiff because of her disability and gender, and/or good fait
15     complaints were "despicable" and subjected Plaintiff to cruel and unjust hardship, in knowin

16     disregard of Plaintiffs rights to a work place free of discrimination, harassment, retaliation an

17     wrongful employment termination.

18                   C.       Fraud. In addition, and/or alternatively, defendants' conduct, as alleged

19     was fraudulent within the meaning of California Civil Code section 3294, including tha

20     defendants asserted false (pretextual) grounds for terminating Plaintiffs employment and/or othe

21     adverse job actions, thereby to cause Plaintiff hardship and deprive her oflegal rights.

22            28.    Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
23             29.   Before filing this action, Plaintiff exhausted her administrative remedies by filing

24     timely administrative complaint with the Department of Pair Employment and Housing ("DFEH"
25     and receiving a DFEH right-to-sue letter.
26     Ill

27    Ill

28     ///


                                                       8
                                                   COMPLAINT                                    EXHIBIT A
                                                                                                 PAGE 13
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 9 of 14 Page ID #:19



I                                       FIRST CAUSE OF ACTION

2                        (Violation ofFEHA (Government Code§ 12900, et. seq.)

3         (Discrimination on the Basis of Gender) - Against Defendant ZLW, and Does 1-25)

4            30.    Plaintiff alleges and incorporates herein by this reference each and every allegatio

5     set forth in all previous paragraphs of the Complaint as if fully set forth herein.

6            31.    Plaintiffs gender and/or characteristic(s) protected by PEHA, Government Cod

7     section 12900, et. seq., were motivating factors in defendants' decision to not retain, hire o

8     otherwise employ Plaintiff in any position, and/or take other adverse employment actions

9     including failure to promote, against Plaintiff.

10            32.   Defendants' conduct, as alleged, violated PEHA, Government Code section 12900,

11    et. seq. and defendants' committed unlawful employment practice(s), including, withou

12    limitation, by the following, separate bases ofliability:

13                  a.        Barring, discharging, refusing to transfer, retain, hire, select, and/or employ

14    and/or otherwise discriminating against Plaintiff, in whole or in part on the basis of Plaintiff
15    gender and/or other protected characteristics, in violation of Government Code section 12940(a);

16                  b.        P ailing to take all reasonable steps to prevent discrimination, harassment,

17    and/or retaliation based on gender, in violation of Government Code section 12940(k).

18            33.   As a proximate result of defendants' willful, knowing, and intentional discriminatio
I9    against Plaintiff, Plaintiff has sustained and continues to sustain substantial losses of earnings an

20    other employment benefits.

21            34.   As a proximate result of defendants' willful, knowing, and intentional misconduct,

22    Plaintiff has suffered and continues to suffer humiliation, emotional distress, and physical an
23    mental pain and anguish, all to her damage in a sum according to proof.

24            35.   As a proximate result of defendants'             willful, knowing, and intentiona
25    discrimination, Plaintiff has suffered humiliation, emotional distress, and physical and mental pai
26    and anguish, all to her damage in a sum according to proof.
27
28

                                                      9
                                                  COMPLAINT                                      EXHIBIT A
                                                                                                  PAGE 14
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 10 of 14 Page ID #:20



1             36.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

2     Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonabl

3     attorneys' fees and costs (including expert costs), in an amount according to proof.

4             37.     Defendants' misconduct was committed intentionally, in a malicious, despicable,

5      oppressive manner, entitling Plaintiff to punitive damages against defendants.

6                                       SECOND CAUSE OF ACTION
7                             (Violation of FEHA (Government Code § 12940(k))

8                             (Failnre to Prevent Discrimination and Retaliation

9                                  -Against Defendant ZLW, and Does 1-25)

1O             3 8.   Plaintiff alleges and incorporates herein by this reference each and every allegatio

11     set forth in all previous paragraphs of the Complaint as if fully set forth herein.

12             39.    At all times herein mentioned, FEHA, Government Code section 12940(k), was i

13     full force and effect and was binding on defendants. This statute states tbat it is an unlawfu

14     employment practice in California for an employer "to fail to take all reasonable steps necessa

15     to prevent discrimination and harassment from occurring." Prior to filing the instant Complaint,

16     Plaintiff filed a timely administrative charge with the with DFEH, and received a right-to-sue.

17             40.    During the course of Plaintiffs employment, defendants failed to prevent thei

18     employees from engaging in intentional actions that resulted in Plaintiff being treated Jes
19     favorably because of Plaintiffs protected status (i.e., her gender). During the course of Plaintiff·

20     employment, defendants failed to prevent their employees from engaging in unjustifie

21     employment practices against employees in such protected classes. During the course of Plaintiff

22     employment, defendants failed to prevent a pattern and practice by their employees of intentiona

23     discrimination and harassment on the basis of gender, and/or other protected statuses or protecte

24     activities.
25             41.    Plaintiff believes and on that basis, alleges that her gender, and/or other protecte

26     status and/or other protected activity were substantial motivating factors in defendants' employees'
27     discrimination and retaliation against her.
28



                                                  COMPLAINT                                    EXHIBIT A
                                                                                                PAGE 15
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 11 of 14 Page ID #:21



1             42.     As a proximate result of defendants' willful, knowing, and intentional misconduct o

2      Plaintiff: Plaintiff has sustained substantial losses of earnings and other employment benefits.

3             43.     As a proximate result of defendants' willful, knowing, and intentional misconduct o

4      Plaintiff: Plaintiff has suffered humiliation, emotional distress, and physical and mental pain an

5      anguish, all to her damage in a sum according to proof.

6             44.     Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

7      Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonabl

8      attorneys' fees and costs (including expert costs) in an amount according to proof.

9              45.    Defendants' misconduct was committed intentionally, in a malicious, despicable,

10     oppressive manner, entitling Plaintiff to punitive damages against defendants.

11                                       THIRD CAUSE OF ACTION

12                          (Violation ofFEHA (Government Code§ 12900, et seq.)

13      (Retaliation for Complaining of Discrimination- Against Defendant ZLW, and Does 1-25)

14             46.    Plaintiff alleges and incorporates herein by this reference each and every allegatio
15     set forth in all previous paragraphs of the Complaint as if fully set forth herein.

16             4 7.   Plaintiff's gender is a characteristics protected by FEHA, Government Code sectio

17     12900, et. seq., were motivating factors in defendants' decision to terminate Plaintiff

18     employment, not to retain, hire, or otherwise employ Plaintiff in any position, and/or to take othe

19     adverse job actions against Plaintiff.

20             48.    Defendants' conduct, as alleged violated FEHA, Government Code section 12900,

21     et. seq., and defendants committed unlawful employment practices, including by the followin
22     separate bases ofliability:

23                    a.       Discharging, barring, refusing to transfer, retain, hire, select, and/or employ

24     and/or otherwise discriminating against Plaintiff, in whole or in part on the basis of Plaintiff
25     gender and/or other protected characteristics, in violation of Government Code section 12940(a);
26                    b.       Harassing Plaintiff and/or creating a hostile work environment, in whole o

27     in part on the basis of Plaintiffs gender and/or other protected characteristics, in violation o

28     Government Code section 12940(j);


                                                         II
                                                  COMPLAINT                                      EXHIBIT A
                                                                                                  PAGE 16
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 12 of 14 Page ID #:22



1                     C.      Failing to take all reasonable steps to prevent discrimination, harassment,

2     and retaliation based on Plaintiff's gender, in violation of Government Code section 12940(h);

3                     d.               Retaliating against Plaintiff for seeking to exercise rights guarantee

4     under FEHA and/or opposing defendants' failure to provide such rights, including the right to b

5      free of discrimination, in violation of Government Code section 12940(h);

6             49.     As a proximate result of defendants' willful, knowing, and intentional retaliation o

7      Plaintiff, Plaintiff has sustained substantial losses of earnings and other employment benefits.

8             50.     As a proximate result of defendants' willful, knowing, and intentional retaliation o

9      Plaintiff, Plaintiff has suffered humiliation, emotional distress, and physical and mental pain an

IO     anguish, all to her damage in a sum according to proof.

11             5 I.   Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.

12     Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonabl

13     attorneys' fees and costs (including expert costs) in an amount according to proof.

14             52.    Defendants' misconduct was committed intentionally, in a malicious, despicable
15     oppressive manner, entitling Plaintiff to punitive damages against defendants.

16                                       FOURTH CAUSE OF ACTION

17                                 (Violation of Labor Code§ 1102.5, et. seq.)

18                                 - Against Defendant ZL W, and Does 1-25)
19             53.    Plaintiff alleges and incorporates herein by this reference each and every allegatio

20     set forth in all previous paragraphs of the Complaint as if fully set forth herein.

21             54.    At all relevant times, Labor Code section 1102.5 was in effect and was binding o

22     defendants. This statute prohibits defendants from retaliating against any employee, includin
23     Plaintiff, for raising complaints of illegality.

24             55.    Plaintiff raised complaints of illegality while she worked for defendants, an
25     defendants retaliated against her by discriminating against her, and taking adverse employmen

26     actions, including employment termination, against her.
27
28

                                                      12
                                                   COMPLAINT                                      EXHIBIT A
                                                                                                   PAGE 17
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 13 of 14 Page ID #:23



 I            56.   As a proximate result of defendants' willful, knowing, and intentional violation o

 2     Labor Code section 1102.5, Plaintiff has suffered humiliation, emotional distress, and mental an

 3     physical anguish, all to her damage in a sum according to proof.

 4            57.    As a result of defendants' adverse employment actions against Plaintiff, Plaintiff ha

 5     suffered general and special damages in a sum according to proof.

 6            58.    Defendants' misconduct was committed intentionally, in a malicious, oppressiv
 7     manner, entitled Plaintiff to punitive damages against defendants.
 8                                  FIFTH CAUSE OF ACTION

 9     (Wrongful Termination of Employment in Violation of Public Policy in Violation of Labor

10                       Code§ 1102.5, FEHA, Government Code§ 12900, et. seq.)

11                                -Against Defendant ZLW, and Does 1-25)

12            59.    Plaintiff alleges and incorporates herein by this reference each and every allegatio

13     set forth in all previous paragraphs of the Complaint as if fully set forth herein.

14            60.    Defendants terminated Plaintiff's employment in violation of various fundamenta
15     public policies underlying both state and federal laws. Specifically, Plaintiff's employment wa

16     terminated in part because of Plaintiff's protected statuses (gender) and because Plaintiff engage

17     in protected activities. These actions were in violation of FERA and the California Constitutio

18     and California Labor Code section 1102.5.
19            61.    As a proximate result of defendants' wrongful termination of Plaintiff's employmen

20     in violation of fundamental public policies, Plaintiff has suffered humiliation, emotional distress,

21     and mental and physical pain and anguish, all to her damage in a sum according to proof.
22            62.    As a result of defendants' wrongful termination of Plaintiff's employment, Plainti
23     has suffered general and special damages in sums according to proof.
24            63.    Defendants' wrongful termination of Plaintiff's employment was done intentionally
25     in a malicious, oppressive manner, entitling Plaintiff to punitive damages.
26            64.    Plaintiff has incurred and continues to incur legal expenses and attorneys' fees.
27     Pursuant to Code of Civil Procedure section 1021.5 and 1032, et. seq., Plaintiff is entitled t
28     recover reasonable attorneys' fees and costs in amount according to proof.


                                                     13
                                                  COMPLAINT                                    EXHIBIT A
                                                                                                PAGE 18
     Case 8:21-cv-00028-JLS-ADS Document 1-1 Filed 01/07/21 Page 14 of 14 Page ID #:24



                 65.   manner, entitling Plaintiff to punitive damages.
2                                            PRAYER FOR RELIEF
3                 WHEREFORE, Plaintiff, Camille Rodriguez, prays for judgment against Defendants,

4      and each of them, as follows:
5         1. For general and special damages according to proof;

6         2. For exemplary damages according to proof;
7         3. For pre-judgment and post-judgment interest on all damages awarded;
8         4. For a declaratory judgment that the practices complained of in this Complaint are unlawful

9                under California law;
10         5. An injunction against Defendants, their officers, agents, successors, employees,

11               representatives, and any and all person acting in concert with them from engaging in each

12               of the practices complained ofin this Complaint;

13         6. For reasonable attorneys' fees;

14         7. For costs of the suit incurred herein; and
15         8. For such other relief as the Court may deem proper.
16                                            DEMAND FOR JURY TRIAL

17               Plaintiff, Camille Rodriguez, hereby demands a jury trial for the causes of action set fort

18     herein.
19     Dated: September 5, 2019                 NEAL-LOPEZ LAW GROUP, PC

20                                                   r~ A.Juz..t-ufl{l-3
                                                           iJ - - - - - - - -v'" '0- - - - - -
                                             By: - - , - - ~
21
                                               TRACY NEAL-LOPEZ, ESQ.
22                                             Attorney for Plaintiff, Camille Rodriguez

23

24
25

26

27

28

                                                       14
                                                    COMPLAINT                                    EXHIBIT A
                                                                                                  PAGE 19
